        Case 1:24-cr-00542-AS            Document 220         Filed 04/08/25       Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
                                                                :
UNITED STATES OF AMERICA                                        : Case No. 24-cr-542 (AS)
                                                                :
         v.                                                     :
                                                                :
SEAN COMBS,                                                     :
                                                                :
                           Defendant.                           :
                                                                :
                                                                :
                                                                :
                                                                :
----------------------------------------------------------------X

      DECLARATION OF THOMAS B. SULLIVAN IN SUPPORT OF NON-PARTY
         WARNER BROS. DISCOVERY’S MOTION TO QUASH SUBPOENA

        Thomas B. Sullivan, pursuant to 28 U.S.C. § 1746, declares as follows:

        1.      I am a partner in the law firm of Ballard Spahr LLP, counsel Non-party Warner

Bros. Discovery, Inc. (“WBD”) in the above-captioned action. I submit this declaration in

support of WBD’s motion to quash a subpoena served on by Defendant Sean Combs. I have

personal knowledge of the facts herein.

        2.      Attached hereto as Exhibit A is a true and correct copy of the subpoena served by

counsel for Mr. Combs on WBD, with the names of Individuals A and B redacted.

        3.      Pursuant to Local Criminal Rule 16.1, I certify that I, along with my colleague

Paul Safier, met and conferred with Mr. Combs’s counsel Anna Estevao on March 24, 2025,

March 25, 2025, and April 2, 2025 by videoconference in an effort in good faith to resolve by

agreement the issues raised by the motion without the intervention of the Court but we have been

unable to reach agreement as to all issues. During the meet and confer, the parties were able to

resolve issues related to two of the three topics in the subpoena, as Mr. Combs was able to obtain

them from an alternate source. The remaining issue is addressed in this motion.
        Case 1:24-cr-00542-AS         Document 220        Filed 04/08/25       Page 2 of 2




       4.      To allow the meet and confer discussions to occur, counsel for Mr. Combs agreed

to extend the response date for the subpoena to April 8, 2025.

       5.      Attached hereto as Exhibit B is a true and correct copy of email correspondence

between counsel reflecting the parties agreement to extend the response deadline.

       6.      Attached hereto as Exhibit C is a true and correct copy of United States v. Grant,

2004 U.S. Dist. LEXIS 28176 (S.D.N.Y. Nov. 17, 2004), an opinion which does not appear to be

available on Westlaw.



       I declare under penalty of perjury that the foregoing is true and correct.

Executed on April 8, 2025.

                                                     s/Thomas B. Sullivan
                                                     Thomas B. Sullivan




                                             2
